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                        THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION

                                    ELECTRONICALLY FILED


JOANNE BARROWS and SUSAN HAGOOD,
individually and on behalf of all others similarly
situated,

                      Plaintiffs,                      Civil Action No. 3:23-cv-00654-RGJ

       v.

HUMANA, INC.,

                      Defendant.


                        DEFENDANT’S MOTION TO DISMISS
                      PLAINTIFFS’ CLASS ACTION COMPLAINT

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       Defendant Humana Inc. (“Humana” or “Defendant”) respectfully moves pursuant to

Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6) to dismiss the December 12, 2023 Class

Action Complaint filed by Plaintiffs Joanne Barrows and Susan Hagood (collectively “Plaintiffs”).

In short, Plaintiffs cannot forum-shop their way to a different Medicare coverage determination.

                                        INTRODUCTION

       Plaintiffs are Medicare Part C1 enrollees. They each received Medicare Benefits under

Part C of the Medicare Act through a Medicare Advantage (“MA”) plan administered by Humana.

Plaintiffs allege that Defendant wrongly denied Plaintiffs’ requests for coverage of certain

Medicare Benefits. Plaintiffs’ putative class Complaint (R. 1)—which is heavily copied-and-

pasted from a similar action filed by the same law firm against another Medicare Advantage

Organization (“MAO”)2—includes sensationalized allegations that Humana makes post-acute care

coverage determinations based solely on the output of an Artificial Intelligence program.

Plaintiffs’ allegations are false.3 But, even accepting Plaintiffs’ allegations as true for purposes of

this motion, Plaintiffs’ Complaint must be dismissed for two reasons:

       First, the Court lacks subject matter jurisdiction to adjudicate Plaintiffs’ claims because

Plaintiffs have failed to exhaust the exclusive administrative appeal process set by the Medicare




       1
         Medicare Part C is also known as Medicare Advantage and was previously known as
Medicare+Choice. See Medicare Program: Establishment of the Medicare Advantage Programs,
70 Fed. Reg. 4588, 4589 (Jan. 28, 2005).
       2
         Estate of Gene B. Lokken, et al. v. UnitedHealth Grp., Inc., et al., ECF 1, No. 0:23-cv-
03514-JRT-DTS (D. Minn. Nov. 14, 2023).
       3
         Humana acknowledges that the Court is required to “take as true all factual allegations in
the complaint.” See Barret v. Harrington, 130 F.3d 246, 251 (6th Cir. 1997). Humana notes,
however, that if this case were to proceed past the motion to dismiss stage, the facts would
unambiguously show that the Complaint’s allegations that Humana uses the nH Predict tool to
make adverse coverage determinations without human intervention have no merit. Further, the
coverage determinations at issue in this case were reviewed and upheld at every level of
administrative review that the Plaintiffs sought. See infra nn. 4–5.
                                                  1
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Act for challenging a MAO’s coverage determination. Under the Medicare Act and Centers for

Medicare and Medicaid Services (“CMS”) regulations, any Medicare beneficiary who disagrees

with a benefit determination by her MAO must exhaust a four-step mandatory administrative

review process that concludes with potential review by the Medicare Appeals Council, a federal

agency authorized to issue final benefit determinations on behalf of the Secretary of Health and

Human Services (“HHS”). See 42 C.F.R. § 405.920 et seq.; Glob. Rescue Jets, LLC v. Kaiser

Found. Health Plan, Inc., 30 F.4th 905, 911 (9th Cir. 2022). If a member disagrees with the

Medicare Appeals Council’s determination on behalf of the Secretary of HHS, she can seek relief

in federal court by filing a lawsuit against the Secretary of HHS challenging the outcome of the

agency’s administrative determination. She cannot sue her MAO. See 42 U.S.C. § 405(g);

42 C.F.R. § 422.612(c); id. at § 405.1136(d)(1); see also Ebert v. Anthem Health Plans of Ky, Inc.,

2022 WL 509117, at *2 (W.D. Ky. Feb. 18, 2022) (explaining that “in any civil action brought in

federal court [disputing coverage of Medicare Benefits], the Secretary of HHS, in his or her official

capacity, is the proper defendant.” (internal quotations omitted)).

       Plaintiffs seek to sidestep the exclusive administrative appeal process set by the Medicare

Act. Indeed, both Plaintiffs have partially completed Medicare Part C’s exclusive administrative

appeal process: Plaintiff Susan Hagood received an adverse decision from a HHS Administrative

Law Judge denying her appeal and upholding Humana’s Medicare coverage determination

(step three in the Medicare Part C administrative appeal process).4 And Plaintiff Joanne Barrows



       4
         See Exhibit 1 (the ALJ Decision for Ms. Hagood’s appeal) at 1–2, 14. Although Plaintiffs
avoid mention of the administrative record in their Complaint, the Court may take judicial notice
of an ALJ decision and evaluate the administrative record without converting this motion into one
for Summary Judgment. “[T]he decision of an ALJ is a proper subject of judicial notice.” United
States v. An Undetermined Quantity of An Article of Drug Labeled As Benylin Cough Syrup,
583 F.2d 942, 946 n.3 (7th Cir. 1978) (citing 10 Moore's Federal Practice § 201.02[1]). In general,
this Court “has the power to ‘judicially notice a fact that is not subject to reasonable dispute
                                                 2
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similarly had her appeal denied by an independent Quality Improvement Organization (“QIO”)

appointed by CMS (step one in the Medicare Part C “fast-track” appeal process).5 Unhappy with

those decisions, Plaintiffs now attempt to pursue state-law causes of action in this Court. But, just

as numerous other courts have held, those claims must be dismissed because this Court lacks

subject matter jurisdiction to hear them.6 See, e.g., Uhm v. Humana, Inc., 620 F.3d 1134

(9th Cir. 2010); Trinity Home Dialysis, Inc. v. WellMed Networks, Inc., 2023 WL 2573914, at *5

(5th Cir. Mar. 20, 2023) (per curiam); Giesse v. Sec. Dept. Health & Hum. Servs., 522 F.3d 697,

702–03 (6th Cir. 2008) (“[S]ection 405(h) clearly prohibits judicial review of plaintiff’s claims




because it...can be accurately and readily determined from sources whose accuracy cannot
reasonably be questioned.’” Robinson v. Woods, 901 F.3d 710, 712 n.1 (6th Cir. 2018) (quoting
Fed. R. Evid. 201(b), (d)). And as other courts in this circuit have uniformly held, the findings of
an “ALJ decision cannot reasonably be questioned.” Powell v. Comm’r of Soc. Sec.,
2019 WL 4686491, at *4 (E.D. Mich. Sept. 26, 2019) (taking judicial notice of ALJ decision);
Thumann v. Cochran, 2021 WL 1222142, at *2 n.3 (S.D. Ohio Mar. 31, 2021) (“While ALJ Bruch’s
decision is not part of the certified administrative record, the Court finds it proper to take judicial
notice of ALJ Bruch’s decision”); cf. Toth v. Grand Trunk R.R., 306 F.3d 335, 349 (6th Cir. 2002)
(“[A] Court may take judicial notice of the rules, regulations and orders of administrative agencies
issued pursuant to their delegated authority”). In this case, the ALJ decision outlines the procedural
history, and explains Humana met its burden of proving that termination of Ms. Hagood’s SNF
services was correct.
        5
          See Exhibit 2 (the QIO determination for Ms. Barrows’ appeal). On December 11, 2021,
Livanta, the CMS-appointed QIO responsible for reviewing Humana’s denial of coverage, issued
a determination letter upholding Humana’s denial of coverage. The reviewer found that
Ms. Barrows no longer met Medicare coverage requirements for SNF services. Because the
Complaint alleges that “Ms. Barrows and her family vigorously appealed Humana’s denial, but
their efforts were unsuccessful,” Compl., R. 1, PageID#: 13 (¶ 44), this Court is free to consider
the referenced appeal determinations. See Ashland, Inc. v. Oppenheimer & Co., 648 F.3d 461, 467
(6th Cir. 2011) (citation omitted); Bassett v. Nat’l Collegiate Athletic Ass’n, 528 F.3d 426, 430
(6th Cir. 2008). Moreover, because this issue goes to the Court’s subject-matter jurisdiction, it
would be free to consider documents bearing on administrative exhaustion even if they were not
referenced in the Complaint. See Humphrey v. U.S. Att’y Gen.’s Office, 279 F. App’x 328, 331
(6th Cir. 2008).
        6
          Plaintiffs fail to establish that the Court has subject matter jurisdiction because they did
not adequately plead that they exhausted the four-step mandatory administrative review process
required by the Medicare Act. The Complaint does not allege that either Plaintiff exhausted this
process. And, if it had, the Secretary of HHS would be the proper defendant, not Humana.
                                                  3
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[that medical benefits were allegedly arbitrarily and capriciously terminated] absent exhaustion of

available administrative remedies.”); Cathedral Rock of N. College Hill, Inc. v. Shalala, 223

F.3d 354 (6th Cir. 2000). Indeed, for precisely this reason, another federal district court within the

Sixth Circuit dismissed a Medicare Part C enrollee’s claims for similar post-acute care just last

year. See Harwood by Next Friend Adelson v. Aetna Health of Mich., 2023 WL 424715, at *2

(E.D. Mich. Jan. 26, 2023) (explaining that all of the plaintiff’s claims arose under the Medicare

Act because each was “inextricably intertwined with a Medicare benefits determination”).

       Second, the Court should dismiss this case because the Medicare Act expressly preempts

all of the Plaintiffs’ state law claims. Plaintiffs attempt to avoid the Medicare Act’s requirements

by pursuing state law causes of action through this lawsuit—however, they fail to state a claim for

which relief can be granted because the Medicare Act preempts all of their claims. To ensure

uniform administration of the Medicare Act’s rules and regulations nationwide, Congress amended

the Medicare Act to expressly preempt any state law or cause of action related to Medicare Act

standards. See 42 U.S.C. § 1395w-26(b)(3); see also 42 C.F.R. § 422.402. Specifically, Congress

intended to “supersede any State law or regulation (other than State licensing laws or State laws

relating to plan solvency) with respect to MA plans which are offered by MA organizations,” id.,

“including those established through case law,” 70 Fed. Reg. at 4665—bringing not just state

statutes and regulations within the scope of the Medicare Act’s express preemption, but also state

“common law claims,” Uhm, 620 F.3d at 1156.

       Courts have interpreted the preemption provision broadly, to mandate something “akin to

field preemption.”     See Pharm. Care Mgmt. Ass’n v. Mulready, 78 F.4th 1183, 1206

(10th Cir. 2023); Alston v. UnitedHealth Servs., Inc., 291 F. Supp. 3d 1170, 1173 (D. Mont. 2018).

Plaintiffs raise a patchwork of state law causes of action scrutinizing Humana’s review and denial



                                                  4
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of their claims for skilled nursing facility (“SNF”) care, but Humana’s coverage determinations

are not governed by state law. Instead, Humana is subject to “extensive regulations” by CMS,

e.g, Morrison v. Health Plan of Nev., Inc., 328 P.3d 1165 (Nev. 2014) (citing 42 U.S.C. § 1395w-

26(b)(1) (2012)), which dictate the appropriate process for reviewing claims for Medicare Benefits

and making coverage determinations for SNF benefits under the Medicare Act. See 42 C.F.R.

§ 422.101(a), § 409.30 (basic pre-admission and admission requirements), § 409.31 (level of care

requirement), § 409.32 (criteria and need for skilled services), § 409.33 (examples of what

qualifies as skilled nursing services), and § 424.20 (plan of treatment and certification

requirements for post hospital SNF care). See also Compl., R. 1, PageID#: 7 (¶ 23), 11 (¶ 33).

Allowing this case to continue would require the Court to apply twenty-three states’ standards,7

and risk outcomes that conflict with the federal government’s Medicare rules. This is exactly why

the Medicare Act has such a vast preemption provision. For these reasons, the Plaintiffs’ claims

are preempted, and the Complaint should be dismissed.

                                       BACKGROUND

I.     THE MEDICARE ADVANTAGE PROGRAM

       In 1997, Congress enacted Part C of Title XVII of the Social Security Act, known as the

Medicare Act. The Medicare Act gives Medicare beneficiaries the option to receive benefits in

one of two ways. An eligible party may participate in Medicare Parts A and B and have “CMS

directly pay medical providers for [her] hospital and outpatient care.” Humana Med. Plan, Inc. v.

W. Heritage Ins. Co., 832 F.3d 1229, 1233 (11th Cir. 2016). Alternatively, a Medicare enrollee

may choose to participate in a Medicare Part C plan, known as a Medicare Advantage plan, and


       7
         Ms. Barrows is a citizen of, and received care in, Minnesota. Compl. R. 1, PageID#:
6 (¶ 18). Ms. Hagood is a citizen of, and received care in, North Carolina. Id. (¶ 19). The
Complaint does not allege that the named Plaintiffs have any connection to the remaining twenty
states.
                                                5
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have a MAO—rather than CMS—provide her Medicare Benefits. See id. Ms. Barrows and

Ms. Hagood both elected the latter and enrolled in a Medicare Part C Plan administered by

Humana. Compl., R. 1, PageID#: 12 (¶ 39), 14 (¶ 50).

       MAOs are heavily regulated entities whose activities are governed exclusively by the

Medicare Act and CMS’s implementing regulations. See, e.g., 42 C.F.R. § 422.1 et seq. For

instance, the Medicare Act and CMS regulations dictate when an MAO must cover medical

services, how it can make those coverage determinations, and the exclusive process for a member

to appeal if her coverage is denied. See, e.g., 42 C.F.R. §§ 409.30–409.36 (CMS regulations for

coverage of posthospital SNF care), § 422.137 (MAO’s use of utilization management policies and

procedures), § 422.566(b) (Medicare beneficiaries’ right to appeal organizational determinations

through the Medicare Act’s exclusive administrative appeals process); see also CMS, Frequently

Asked Questions Related to Coverage Criteria and Utilization Management Requirements in CMS

Final Rule (CMS-4201-F) at 2 (Feb. 6, 2024) (“An algorithm or software tool may be used to assist

MA plans in making coverage determinations, but it is the responsibility of the MA organization

to ensure that the algorithm or artificial intelligence complies with all applicable rules for how

coverage determinations by MA organizations are made.”).             Congress ensured uniform

implementation of this nationwide program by expressly preempting any state law or cause of

action that relates to, challenges, or regulates MAOs’ compliance with Medicare standards.

See 42 U.S.C. 1395w-26(b)(3). See also 42 C.F.R. § 422.402; 70 Fed. Reg. at 4665.

II.    PLAINTIFFS’ CLAIMS FOR SKILLED NURSING BENEFITS

       This case concerns Humana’s decision to end coverage for Ms. Barrows’ and Ms. Hagood’s

post-acute care at a skilled nursing facility (SNF). Humana is an MAO that provides Medicare

Benefits under Medicare Part C. Compl., R. 1, PageID#: 2 (¶ 4). As noted above, Ms. Barrows

and Ms. Hagood are Medicare beneficiaries who elected to receive their Medicare Benefits through
                                                6
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an MAO, Humana. Id. at 12 (¶ 39), 14 (¶50). Ms. Barrows resides in Minnesota, and for all times

relevant to this action, Ms. Hagood was a citizen of North Carolina. Id. at 6 (¶¶ 18–19). Both

Plaintiffs allege that Humana wrongly ended coverage for their stays in skilled nursing facilities

(“SNFs”). Id. at 13 (¶ 42), 15 (¶ 57).

        The Plaintiffs allege Ms. Barrows was admitted to Good Samaritan Society Ambassador

Rehabilitation Facility (a SNF) following her discharge from an inpatient hospital on

November 26, 2021. Id. at 12 (¶ 41). After covering two weeks of SNF care, Humana informed

Ms. Barrows that additional SNF care would no longer be covered. Id. at 13 (¶ 43). The Complaint

alleges that “Ms. Barrows and her family vigorously appealed Humana’s denial [of coverage], but

their efforts were unsuccessful” and the appeals were denied.         Id. (¶ 44).   Similarly, on

October 26, 2022, Ms. Hagood was admitted to a SNF. Id. at 14 (¶¶ 52–53). She was readmitted

to Mission Hospital on November 28, 2022. Id. at 15 (¶ 56). On or around November 27, 2022,

Humana notified Ms. Hagood that it had ended her coverage for SNF services on November 14,

2022 after determining that Ms. Hagood did not require the level of care provided by a SNF.8

Id. (¶ 57).

        The Complaint includes twenty-six causes of action that tie back to Humana’s denial of

coverage for Ms. Barrows’ and Ms. Hagood’s care, and its alleged improper investigation into

Plaintiffs’ claims for Medicare Benefits. Two breach of contract claims assume that Ms. Barrows

and Ms. Hagood entered into a contract with Humana for the provision of insurance under the



        8
          The Complaint misstates the timeline for Ms. Hagood’s SNF care. See Compl. R. 1
PageID#: 15 (¶¶ 56–57). According to the ALJ’s decision, Ms. Hagood was admitted to the SNF
on October 26, 2022. See Exhibit 1 at 7. Humana covered her SNF care for 19 days. See id. at
7–8. On November 11, 2022, Humana issued a Notice of Medicare Non-Coverage informing
Ms. Hagood and her family that her care would no longer be covered after November 13, 2022.
See id. at 8–9. Her family opted to keep her in the facility until November 28, 2022, when she was
readmitted to an inpatient facility. See id. at 18.
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Medicare Advantage program. Id. at 19 (¶ 72), 21 (¶ 80). Humana’s alleged breach, according to

the Plaintiffs, was its “unreasonable denial to pay” for Plaintiffs’ SNF claims without “adequate

individualized investigation.” Id. at 20–21 (¶¶ 74, 76–77, 84–85), and failure to provide a

“thorough, fair, and objective investigation of each submitted claim prior to a claim denial.” This,

the Plaintiffs allege, resulted in an “unreasonable” denial of their claims for SNF benefits. See id.

at 19–20 (¶¶ 71–78). The Plaintiffs’ second cause of action alleges that Humana violated its

implied covenant of good faith and fair dealing under the insurance agreement when it improperly

delegated its claims review function and failed to require its agents to conduct a proper

investigation of each submitted claim. See id. at 20–22 (¶¶ 79–88). Like the breach of contract

claim, this, the Plaintiffs argue, “constitute[s] an unreasonable denial to pay benefits due to

Plaintiffs.” See id.   And in their third cause of action, Plaintiffs allege that Humana unjustly

enriched itself when it “knowingly received and retained wrongful benefits and funds from

Plaintiffs” and “den[ied] its insureds medical payments owed to them.” Id. at 22–23 (¶¶ 89–96).

       The remaining causes of action are similarly rooted in Humana’s denial of coverage and

alleged improper investigation of their claims for benefits. Plaintiffs assert two North Carolina

Unfair Claims Settlement Practices claims, and twenty-two additional state law causes of action

under various state insurance bad faith statutes (as mentioned in footnote 7, twenty of these are in

states where the Plaintiffs have no connection). See, e.g., id. at 24 (¶¶ 97–104) (state Unfair Claims

Settlement Practice claim alleging that Humana “refused to pay claims without conducting a

reasonable investigation based upon all available information”), 30 (¶ 147) (alleging that Humana

“had no reasonable basis for the denial of coverage” in violation of Colorado’s Insurance Bad Faith

statute), 32 (¶162) (same, Iowa), 33 (¶ 169) (same, Kentucky), 34 (¶ 176) (same, Nebraska),

36 (¶ 191) (same, Oklahoma), (¶ 194) (same, Rhode Island), 39 (¶ 208) (same, South Dakota),



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33 (¶ 173) (alleging Humana’s reason for denying Plaintiffs’ claims “was unreasonable and

without proper cause in violation of Massachusetts’ Insurance Bad Faith law), ¶ 180 (same, North

Dakota), 35 (¶ 185) (alleging Humana’s denial of Plaintiffs’ claims “constitutes refusal to pay

claims in an arbitrary and capricious manner,” Insurance Bad Faith in Ohio). All are premised on

the same fact pattern: Humana’s purported improper denial of coverage for Plaintiffs’ SNF care.

See id. at 20–21 (¶¶ 77, 85) 23–26 (¶¶ 94, 100–02, 109–10, 114), 29–36 (¶¶ 136, 140, 147, 153,

158, 162, 169, 173, 176, 180, 184, 189, 192), 38 (¶¶ 201–02), 40–43 (¶¶ 215, 220, 225, 228–30,

233–35).

                                  STANDARD OF REVIEW

       Under Rule 12(b)(6), the Court must dismiss a complaint if it “fail[s] to state a claim upon

which relief can be granted.” Fed. R. Civ. P. 12(b)(6). Rule 12(b)(6) motions weed out cases that

do not warrant discovery because, based on the factual scenario on which the case rests, the

plaintiff could never prevail. See Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009). A court

considering such a motion must disregard any conclusory allegations and judge the complaint on

its well-pleaded factual allegations alone. Id. at 678; see also Tackett v. M & G Polymers, USA,

LLC, 561 F.3d 478, 488 (6th Cir. 2009). If those factual allegations do not add up to a valid cause

of action, the Court should grant the motion and dismiss the case. See Bell Atl. Corp. v. Twombly,

550 U.S. 544, 561–64 (2007).

       Because 12(b)(6) motions test only the sufficiency of the complaint, courts generally

disregard evidence that does not appear on the face of the pleading. Barrett, 130 F.3d at 253.

Nevertheless, a court “may also consider other materials that are integral to the complaint, are

public records, or are otherwise appropriate for the taking of judicial notice” without converting

the motion into one for summary judgment. Ashland, 648 F.3d at 467 (citation omitted). It may



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also consider “exhibits attached to defendant’s motion to dismiss so long as they are referred to in

the Complaint and are central to the claims contained therein.” Bassett, 528 F.3d at 430.

       Motions to dismiss under Rule 12(b)(1) are a different story. The point of a 12(b)(1) motion

is not to test the sufficiency of the complaint, but to remove from the Court’s docket cases the

Court cannot decide because it lacks subject-matter jurisdiction. When ruling on such a motion,

courts are not confined to the allegations in the pleading. Rather, “it is well established that in

considering a Rule 12(b)(1) motion to dismiss for lack of subject matter jurisdiction, the district

court may look beyond the jurisdictional allegations in the complaint and consider whatever

evidence is submitted.” Humphrey, 279 F. App’x at 331. “The plaintiff bears the burden of

establishing that jurisdiction exists.” Taylor v. Keycorp, 680 F.3d 609, 612 (6th Cir. 2012). And

if it cannot do so “by a preponderance of the evidence,” the Court must dismiss the complaint.

Capitol Specialty Ins. Corp. v. IKO, Inc., 2013 WL 6196564, at *2 (W.D. Ky. Nov. 26, 2013).

                                          ARGUMENT

I.     THE MEDICARE ACT DEPRIVES THIS COURT OF SUBJECT MATTER
       JURISDICTION OVER PLAINTIFFS’ CLAIMS, WHICH ARE SUBJECT TO A
       MANDATORY FEDERAL ADMINISTRATIVE EXHAUSTION PROCESS.

       This case should be dismissed for lack of subject matter jurisdiction because neither named

Plaintiff properly exhausted the Medicare Act’s mandatory administrative review process.

Ms. Hagood completed three of the required levels, but never submitted an appeal for a final

determination by the Medicare Appeals Council (on behalf of the Secretary of HHS), and

Ms. Barrows only completed the first level of review by a Quality Improvement Organization

(“QIO”). When Congress passed the Medicare Act, it specified that all claims “arising under”

Medicare must proceed through CMS’s administrative review process and receive a final decision

issued by the Secretary of HHS before they can be brought in federal court. 42 U.S.C. §§ 405(h),

1395w-22(g)(5); 42 C.F.R. § 422.566(b); Harwood, 2023 WL 424715, at 1–2 (“The Medicare
                                                10
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Act’s grant of subject matter jurisdiction only permits judicial review of the final decision of the

Secretary made after a hearing.” (citing Giesse, 522 F.3d at 703–04; internal citations omitted;

cleaned up)). This exhaustion requirement ensures national uniformity by allowing the federal

government to set coverage criteria for Medicare Benefits and dictate how MAOs cover those

Medicare Benefits and implement the Medicare program. Plaintiffs attempt to sidestep this

mandatory administrative process by bringing their claims for Medicare Benefits under breach of

contract, unjust enrichment, and state statutory claims to manufacture subject matter jurisdiction

when none exists.

       A.      The Medicare Act Requires Plaintiffs To Exhaust A Four Step
               Administrative Review Process Before This Court Can Hear Their Claims.

       The Medicare Act and associated federal regulations outline the only path for Medicare

enrollees to challenge the denial of a request for coverage of Medicare Benefits. The question of

whether an MAO must make payment for a service that the patient believes is covered by Medicare

is an “organization determination” under the Medicare Act. 42 C.F.R. § 422.566(b)(2). So is any

alleged “[r]eduction, or premature discontinuation, of a previously authorized ongoing course of

treatment.” Id. § 422.566(b)(4). Even an alleged failure to timely notify a member of an

organization determination is itself treated as an organization determination, id. § 422.568(f), and

therefore requires the member to follow the appeal process set forth below. Here, where both

Plaintiffs allege harm due to Humana’s review and denial of coverage for their continued SNF

care, they plainly attempt to litigate the validity of an organization determination. See Trinity

Home Dialysis, Inc., 2023 WL 2573914, at *5 (claims for failure to reimburse challenged

organization determinations and thus “clearly” arose under the Medicare Act).

       Enrollees that wish to challenge an organization determination cannot go directly to court

for relief. Instead, Congress required that all such disputes be presented to, and exhausted in, an


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administrative appeal process. 42 U.S.C. §§ 405(g)-(h); id. §1395w-22(g).9 MA plan members

must complete four levels of administrative review prior to filing suit on any claim that arises

under the Medicare Act. See id. § 1395w-22(g); 42 C.F.R. § 422.560 et seq. First, a member who

is aggrieved by an MAO’s decision to end coverage for SNF care may submit a request for an

appeal to an Independent Review Entity (“IRE”), such as a QIO, contracted by CMS to review the

MAO’s decisions. See 42 C.F.R. § 422.626(a).10 If the QIO upholds the MAO’s termination of

coverage, the member has 60 days to request it reconsider its’ decision. See id. § 422.626(g). If

still unsatisfied after this external review, the member has a right to a hearing by a HHS

Administrative Law Judge (“ALJ”). See id. §§ 422.600–422.602. Finally, the member may seek

review by the Medicare Appeals Council. See id. § 422.608. Only after the Medicare Appeals

Council has issued its final determination on behalf of the Secretary of HHS can a beneficiary seek

review in federal district court. 42 U.S.C. § 405(g)-(h); id. §1395w-22(g)(5); 42 C.F.R. § 422.612.

If a member chooses to file suit, she can only sue the Secretary of HHS in the federal district court

for the district where she resides. See 42 U.S.C. § 405(g).




       9
           The Medicare Act’s mandatory exhaustion requirement was created by cross references
to the exhaustion and judicial review provisions of the Social Security Act, 42 U.S.C. §§ 405(g)-
(h); id. § 1395ii.
         10
            When the organization determination involves terminating coverage for SNF care,
MA Plan members may use a process (as the named Plaintiffs did here) that “fast track[s]” their
initial level one appeal, but they must still complete all four levels of review. See 42 C.F.R.
§ 422.626 (describing “fast-track” initiated appeals). Under the traditional process, a level one
appeal requires members to seek reconsideration from their MAO within 60 days of the
organization determination. See 42 C.F.R. §§ 422.578–422.590. If the MAO upholds the denial,
the member may seek review by an IRE. See id. §§ 422.592–422.596. Steps 3 through 4 are the
same as above. See id. §§ 422.600–422.608. If an enrollee misses the request window for a “fast
track” appeal, the typical process outlined under §§ 422.592–422.596 applies. Id. § 422.626.
Either way, plaintiffs must still complete all four levels of administrative review. Because the
named Plaintiffs here utilized the “fast-track” appeal initiation, this motion focuses on that process
as outlined in CMS Regulations.
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       Multiple federal courts have held that the administrative appeal process set forth in

42 U.S.C. §§ 405(g)-(h), §1395w-22(g), and 42 C.F.R. §§ 422.560–422.626 is the exclusive

process for challenging a MAO’s coverage determinations, and also that exhaustion of that process

is a jurisdictional prerequisite that must be satisfied before a federal district court can hear the

Plaintiffs’ claims. See, e.g., Tenet Healthsystem GB, Inc., v. Care Improvement Plus S. Cent. Ins.

Co., 875 F.3d 584, 587 (11th Cir. 2017) (quoting Heckler v. Ringer, 466 U.S. 602, 617 (1984)). As

the Ninth Circuit explained in 2022:

       Congress intended to impose under the Medicare Advantage program the same
       administrative exhaustion requirement that applies to claims for benefits under
       original Medicare. Section 1395w-22(g), like its statutory counterpart under
       original Medicare, conditions judicial review on a “final decision” of the Secretary
       and channels judicial review through § 405(g), subject to the same jurisdictional
       limitations imposed by § 405(h). Congress imported these requirements into
       § 1395w-22(g) after the Supreme Court in Ringer had construed virtually identical
       language in § 1395ff(b)(1) to mandate administrative exhaustion as a prerequisite
       for obtaining judicial review of a claim for Medicare benefits.

Glob. Rescue Jets, 30 F.4th at 914. Thus, when plaintiffs—like the named Plaintiffs here—have

failed to complete the administrative exhaustion process set by Congress for contesting Medicare

Benefits, the Court lacks subject matter jurisdiction and the Plaintiffs’ complaint must be

dismissed. See, e.g., id. at 914, 919–20; Uhm, 620 F.3d 1138; Williams v. Allegheny Cnty.,

2023 WL 4238892, at *7 (W.D. Pa. June 28, 2023); Moses v. United Healthcare Corp., 2020 WL

2037115 (D. Ariz. Apr. 28, 2020); Dicrescenzo v. UnitedHealth Grp. Inc., 2015 WL 5472926

(D. Haw. Sept. 16, 2015).

       B.      Plaintiffs’ Claims Are Subject To The Medicare Act’s Exhaustion
               Requirements Because They Are “Inextricably Intertwined” With The
               Denial Of Medicare Benefits.

       Every cause of action here arises under the Medicare Act because they stem from Humana’s

termination of continued coverage for Plaintiffs’ SNF benefits. As discussed above, Medicare

beneficiaries must receive a final decision from the Secretary of HHS prior to seeking judicial

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review of claims “arising under” the Medicare Act. See 42 U.S.C. § 405(h); id. § 1395ii;

Uhm, 620 F.3d, at 1141. A claim “arises under” the Medicare Act if the “standing and the

substantive basis for the presentation of the claims” is the Medicare Act, or if it is “inextricably

intertwined with a claim for Medicare benefits.” Uhm, 620 F.3d at 1141 (citing Ringer, 466 U.S.

at 614–15); see also Giesse, 522 F.3d at 702 (Medicare Act was the “standing and substantive basis

for” claim for monetary compensation for damages caused by the “arbitrary and capricious

termination of [enrollee’s] medical benefits”). Plaintiffs cannot circumvent the Medicare Act’s

exhaustion requirements by rebranding their claims for benefits under a different name. See,

e.g., Ringer, 466 U.S. at 614–16, 618, 621 (“supposed ‘procedural’ objections” and claims for

“declaratory and injunctive relief” still sought “the payment of benefits” and a “right to future

payments”); United States v. Blue Cross & Blue Shield of Ala., Inc., 156 F.3d 1098, 1104 (11th Cir.

1998) (plaintiffs cannot “evad[e] administrative review by creatively styling their benefits and

eligibility claims as constitutional or statutory challenges to Medicare statutes and regulations”).

       Further, a claim is “inextricably intertwined” with a claim for Medicare Benefits if it does

not involve issues separate from a party’s claim that it is entitled to benefits. Uhm, 620 F.3d at 1143

(breach of contract claim “premised on the fact that Humana ‘failed to provide prescription drug

benefits as promised’” and unjust enrichment claim alleging Humana “received monies as a result

of payments made by [the plaintiffs] for prescription drug benefits that Humana failed to provide”

arose under the Medicare Act because they were “at bottom” creatively disguised claims for

benefits.”); Glob. Rescue Jets, LLC, 30 F.4th at 919 (consumer protection claim rested “directly

on the interpretation of benefits provided under Kaisers’ Medicare Advantage plans” because, on

plaintiffs’ theory, Kaiser’s failure to pay benefits would violate its Medicare Act obligations).




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       For example, in Harwood by Next Friend Adelson v. Aetna Health of Michigan, a Medicare

Part C enrollee sued her MAO based on breach of contract, specific performance, and breach of

good faith and fair dealing claims after it denied pre-approval for her transfer to an inpatient

rehabilitation treatment center. 2023 WL 424715 at *2. The court explained that plaintiff’s claims

arose under the Medicare Act because each of the claims ultimately sought coverage for inpatient

rehabilitation services. Id. Similarly, in Hepstall v. Humana Health Plan, Inc., the court dismissed

tort and contract claims against Humana because they had not been exhausted under the Medicare

Act. 2018 WL 6588555 at *1 (S.D. Ala. Nov. 26, 2018). That plaintiff, the husband of a MA

beneficiary, alleged that Humana wrongfully denied coverage for treatments, leading to economic

harm and the death of his wife. The court concluded that the plaintiff sought “recovery for

damages he suffered as a result of this refusal…[including] the costs he incurred for healthcare

benefits that Humana refused to pay.” Id. at *8. Even though the claim was restyled as a breach

of contract and bad faith refusal to pay, the essence of the causes of action remained a “cleverly

concealed claim for benefits under the Medicare Act.” Id.

       Here, despite Plaintiffs’ creative attempts to disguise their claims for benefits as a novel

legal theory, each cause of action arises under the Medicare Act because the Complaint asks the

Court to judge Humana’s process for reviewing claims and its eventual denial of SNF coverage.

For example, Plaintiffs’ breach of contract, breach of implied covenant of good faith and fair

dealing, and unjust enrichment causes of action allege Humana’s processes for reviewing and

investigating claims led to a denial of benefits in breach of their insurance agreements.11




       11
           These “breach of contract” claims fail for another reason too: MAOs do not issue
“contracts” to Medicare Enrollees. Rather, Medicare Benefits are provided pursuant to federal law
and regulations, and MAOs issue their beneficiaries an “Evidence of Coverage” document, which
is largely written by CMS. See, e.g., 42 C.F.R. §§ 422.111, 422.2261.
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See Compl., R. 1, PageID#: 19–23 (¶¶ 71–78) (first cause of action alleging Humana entered into

an insurance agreement with the Plaintiffs, under which it owed them fiduciary duties, which it

purportedly breached by failing to provide a thorough, fair, and objective investigation of each

submitted claim prior to claim denial, resulting in an unreasonable denial of their claims), (¶¶ 79–

88) (second cause of action alleging Humana’s improper delegation of its claims review function

and failure to require its agents to conduct a proper investigation of each submitted claim

“constitute an unreasonable denial to pay benefits due to Plaintiffs” in violation of the implied

covenant of good faith and fair dealing), (¶¶ 89–96) (third cause of action alleging that Humana

was unjustly enriched when it “knowingly received and retained wrongful benefits and funds from

Plaintiffs” and “arbitrarily den[ied] its insureds medical payments owed to them”). These causes

of action are similar to the breach of contract and unjust enrichment claims discussed in Uhm,

which the court found were “merely creatively disguised claims for benefits” that ultimately sought

to vindicate “the same alleged promises” and “secure a remedy for Humana’s alleged failure to

provide benefits.” 620 F.3d at 1143. Thus, the Plaintiffs’ causes of action each arise under the

Medicare Act because they relate directly to Humana’s denial of Medicare coverage.

       Plaintiffs’ twenty-three remaining state statutory causes of action similarly arise under the

Medicare Act. Even though Plaintiffs avoid mentioning the type of remedy they seek under their

state insurance bad faith claims, questions as to whether Humana’s investigations into an enrollee’s

medical status were “adequate,” Compl., R. 1, PageID#: 27 (¶117), relate directly to whether or

not a benefit should have been covered. See, e.g., 42 C.F.R. § 409.30–409.36 (CMS regulations

for coverage of posthospital SNF care); id. § 422.137 (MAO’s use of utilization management

policies and procedures). Similarly, allegations that there was “no reasonable basis” for Humana

to deny members’ claims, e.g., Compl., R. 1, PageID#: 29 (¶133), 30 (¶147), 32 (¶162), 33 (¶169),



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34 (¶176), are inextricably intertwined with the Medicare Act regulations discussing when SNF

coverage is proper. See 42 C.F.R. § 409.30–409.36 (CMS regulations for coverage of posthospital

SNF care). Determining whether an MAO acted “without any reasonable justification” in denying

benefits, Compl., R. 1, PageID#: 31 (¶153), is squarely within the role of each level of the Medicare

Act’s administrative review process. 42 C.F.R. § 422.566(b) (Medicare beneficiaries’ right to

appeal organization determinations through the Medicare Act’s exclusive administrative appeals

process). Thus, all of Plaintiffs’ claims arise from the Medicare Act and must be properly

exhausted before the Court can consider them.

       C.      Plaintiffs Did Not Fully Appeal Humana’s Coverage Determinations
               Through Medicare’s Mandatory Federal Appeals Process.

       Even though all of the claims arise out of the Medicare Act, neither Ms. Barrows nor

Ms. Hagood completed the four steps that the Medicare Act requires before a federal district court

can hear their claims. Thus, this Court lacks subject matter jurisdiction and should dismiss

Plaintiffs’ Complaint.

       As noted above, the MA appeal process is governed by federal statutes and regulations that

require enrollees to complete four levels of administrative review prior to filing suit on any claim

arising under the Medicare Act. See 42 U.S.C. § 1395w-22(g); 42 C.F.R. § 422.560 et seq.;

Uhm, 620 F.3d at 1144 (federal courts could not assert jurisdiction over the claims when plaintiffs

failed to allege that they appealed through the §405(g) process); Harwood, 2023 WL 424715 at *1

(complaint dismissed because plaintiff conceded she had not exhausted administrative remedies);

Haaland v. Presbyterian Health Plan, Inc., 292 F. Supp. 3d 1222, 1234 (D.N.M. 2018) (no subject

matter jurisdiction because plaintiffs conceded MA member did not appeal a denial of a liver

transplant evaluation); Alston, 291 F. Supp. 3d at 1175–76 (no jurisdiction when member made no

contention that he complied with the exhaustion requirements). When a Medicare Advantage


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enrollee’s coverage of SNF benefits is terminated, she receives an initial determination from the

MAO, which includes written notice of Medicare non coverage and outlines the Medicare appeals

process. 42 C.F.R. § 422.568. Following notification of the denial of coverage, the enrollee may

submit a request for a “fast track” appeal to an Independent Review Entity (in this case, a QIO) by

noon the first day after the day of delivery of the termination notice. Id. § 422.626(a). If the QIO

upholds the MAO’s termination decision, the member has 60 days to request a Level 2 appeal,

which asks the QIO to reconsider its determination. Id. § 422.626(g). An HHS ALJ reviews the

record for Level 3 appeals that meet an amount in controversy requirement. Id. § 422.600. After

the ALJ issues a decision, the enrollee has 60 days to appeal to the Medicare Appeals Council

(MAC). Id. §§ 422.608, 405.1102(a)(1); Exhibit 1 at 16. The MAC’s decision on a Level 4 appeal

is considered a “final decision” by the Secretary of HHS. 42 C.F.R. § 422.612. It is only at this

point—after the MAC issues its final decision—that the member may choose to sue the Secretary

of HHS in federal court to challenge the determination. See 42 U.S.C. § 405(g); 42 C.F.R.

§ 422.612(c); id. § 405.1136(d)(1).

       Here, the Plaintiffs have the burden of establishing subject matter jurisdiction exists.

Taylor, 680 F.3d at 612. However, the Complaint fails to adequately allege that either of the

Plaintiffs initiated the required administrative review process, much less received the required final

decision by the Secretary of HHS. The Plaintiffs have failed to carry their burden. The only

mention of any appeal in the entire Complaint is the threadbare allegation that Ms. Barrows and

her family “vigorously appealed” Humana’s denial of coverage. Compl., R. 1, PageID #: 13 (¶44).

There is no mention of any appeals taken by Ms. Hagood. The Plaintiffs have not adequately

shown that this Court has jurisdiction, and Plaintiffs case should be dismissed.




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       Going one step further, the administrative record reflects neither Plaintiff completed the

administrative review process.      On March 17, 2023, an ALJ issued a decision denying

Ms. Hagood’s Level 3 appeal and upholding Humana’s coverage determination. Exhibit 1 at 14

(applying Medicare regulations and CMS guidance on SNF coverage to find that Humana

“properly terminated coverage.”). It appears Ms. Hagood did not appeal the ALJ’s determination

to the MAC for a final determination on behalf of the Secretary of HHS within the 60-day window.

As the final level of review was never exhausted, the agency never issued a final decision. Further,

the administrative record shows Ms. Barrows did not appeal Humana’s coverage determination

past the Level 1 expedited review, completed by the QIO. On December 11, 2021, Ms. Barrows

received a Level 1 determination from the QIO, which indicated that it agreed with Humana’s

coverage determination because “[t]here [were] no medical issues to support the need for daily

skilled nursing care” and Ms. Barrows “no longer me[]t the criteria for a Skilled Nursing Facility.”

Exhibit 2 at 3. The administrative record does not show that Ms. Barrows requested that the QIO

reconsider its decision or tried to complete any of other levels required by the Medicare Act. Thus,

the Court lacks subject matter jurisdiction over both Plaintiffs’ claims. Alston., 291 F. Supp. 3d at

1175–76. The Medicare Act is clear—the administrative appeal process is the proper forum for

these complaints to be heard. See 42 U.S.C. § 1395w-22(g); 42 C.F.R. § 422.560 et seq. Plaintiffs

cannot restyle their appeals to avoid that process and forum shop for relief in this Court instead.

       D.      Even If Plaintiffs Had Exhausted The Mandatory Appeals Process,
               The Secretary Of Health And Human Services—Not Humana—Would Be
               The Proper Defendant.

       This case should be dismissed because, even if Plaintiffs had fully exhausted the exclusive

administrative appeal process set by Congress, the Plaintiffs sued the wrong defendant. When

Congress passed the Medicare Act, it specified beneficiaries could seek review of final

determinations from the Secretary of HHS—not their MAO. See 42 U.S.C. § 405(g); 42 C.F.R.
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§ 422.612(c); id. § 405.1136(d)(1); see also Ebert, 2022 WL 509117, at *2 (“Even though the

insurer . . . is the opposing party during the administrative review proceedings at the agency level,

once a dispute like this goes to court, the Secretary of HHS is the party responsible for defending

the agency’s decision below.”) (collecting cases). Thus, the Plaintiffs in this case filed their

Complaint against the wrong defendant. See Madsen v. Kaiser Found. Health Plan, Inc., 2009 WL

1537878, at *4 (S.D. Cal. June 2, 2009) (“In any civil action seeking judicial review of a decision

of the Medicare Appeals Council, the Secretary of HHS, in his or her official capacity, is the proper

defendant.”) (citing 42 C.F.R. § 405.1136(d)(1)). Therefore, the Complaint should be dismissed.

II.    THIS COURT MUST DISMISS PLAINTIFFS’ CLAIMS AGAINST HUMANA
       BECAUSE THEY ARE EXPRESSLY PREEMPTED BY THE MEDICARE ACT.

       The Court must dismiss Plaintiffs’ claims because they are preempted by the federal

statutes and regulations that govern when MAOs must cover post-acute care, and how they make

coverage determinations.

       A.      The Medicare Act Imposes A Sweeping Preemption Provision.

       To preserve the federal government’s ability to uniformly administer federal benefits and

to avoid inconsistent application of the Medicare Program across the states, Congress expressly

preempted any application of state statutes and causes of action that relate to Medicare coverage,

rules, and regulations when it passed the Medicare Modernization Act in 2003. As the Ninth

Circuit explained in Uhm:

       Prior to the 2003 amendments, the preemption clause provided that federal
       standards would supersede state law and regulations “with respect to” MA plans
       only “to the extent such law or regulation is inconsistent with such standards” and
       specified several “standards specifically superseded.” 42 U.S.C. § 1395w-
       26(b)(3)(A)(2000). The 2003 amendments struck both that qualifying clause and
       the enumerated standards from the provision. See 42 U.S.C. § 1395w-
       26(b)(3)(A)(2003). The Conference Report accompanying the Act explains that, in
       striking the clause, Congress intended to broaden the preemptive effects of the
       Medicare Statutory regime[.]


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Uhm, 620 F.3d at 1149 (citing H.R. Rep. No. 108-391, at 557 (2003) (Conf. Rep.) (“[T]he MA

program is a federal program operated under Federal rules. State laws, do not, and should not

apply[.]”)). After the 2003 amendments, Medicare Part C’s preemption provision now provides:

       The standards established under this part shall supersede any State law or
       regulation (other than State licensing laws or State laws relating to plan solvency)
       with respect to MA plans which are offered by MA organizations under this part.

42 U.S.C. § 1395w-26(b)(3) (emphasis added); see also 42 C.F.R. § 422.402. Multiple circuits

have explained that the Medicare Act’s amended preemption provision is “akin to field

preemption.” See Mulready, 78 F.4th at 1200, 1205 (describing Part D’s preemption provision—

which is identical to Part C’s—as “unmistakably broad” and “expansive” such that field

preemption is proper); Medicaid & Medicare Advantage Prods. Ass’n of P.R., Inc. v. Hernández,

58 F.4th 5, 12 (1st Cir. 2023) (explaining the 2003 amendment expanded the scope of preemption

“beyond those laws that directly conflict with federal standards”); Uhm, 620 F.3d at 1150

(“Congress intended to expand the preemption provision beyond those state laws and regulations

inconsistent with the enumerated standards”).

       Given the expansive language of the preemption provision, a conflicting state law standard,

or “specific federal-state overlap” is not necessary for a state law to be preempted. See Mulready,

78 F.4th at 1208 (holding that an Oklahoma state statute, which purported to require pharmacy

benefit managers to allow all Oklahoma pharmacies willing to accept the PBM’s preferred-

network terms, was preempted by the Medicare Act because the law “function[ed] as a regulation

of a Part D plan itself.” (cleaned up)). Instead, any state law-related cause of action and common

law cause of action that relates to a Medicare standard is preempted. See Rudek v. Presence Our

Lady of Resurrection Med. Ctr., 2014 WL 5441845, at *4 (N. D. Ill. Oct. 27, 2014) (explaining the

preemption provision applies to state common law because it would be “odd” for Congress to

preempt state statutes and regulations but be “unconcerned about the greater risks of inconsistency
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and variability posed by the application of state law”); 40 Fed. Reg. at 4665 (“all State standards,

including those established through case law, are preempted to the extent they specifically would

regulate MA plans”) (emphasis added)).

       When applying the broad field preemption provision, courts have explained “at the very

least, any state law or regulation falling within the specified categories [from before the 2003

amendment] and ‘inconsistent’ with a standard established under the Act remains preempted.”

See Uhm, 620 F.3d at 1149–50 (common law fraud and state consumer protection claims were

preempted when, “at bottom,” they complained about marketing activities regulated under

Medicare because a court’s ruling on them had the potential to “directly undermine CMS’s prior

determination” and its “ability to create standards” that regulate Medicare entities); Hernández,

58 F.4th 5, at 12–14 (Puerto Rico statute that required MAOs to pay healthcare providers a

minimum rate preempted due to conflict with federal Medicare standards); Mulready, 78 F.4th at

1208–09; Williams, 2023 WL 4238892, at *7 (breach of contract and breach of good faith and fair

dealing claim against MAO preempted by Medicare Act); Alston, 291 F. Supp. 3d at 1173 (state-

law claims alleging negligence, respondeat superior, intentional infliction of emotional distress,

and breach of contract against MAO were preempted); Potts v. Rawlings Co., 897 F. Supp. 2d 185,

199 (S.D.N.Y. 2012) (state anti-subrogation laws preempted by Medicare Act); Phillips v. Kaiser

Found. Health Plan, Inc., 953 F. Supp. 2d 1078, 1090 (N.D. Cal. 2011) (state-law unfair

competition and consumer protection claims preempted by the Medicare Act); Quishenberry v.

UnitedHealthcare, Inc., 532 P.3d 239, 249 (Cal. 2023) (negligence claims based on MAO’s alleged

state law duty to ensure member received skilled nursing benefits preempted because the MAO’s

duty turned on a determination of whether the member qualified for SNF care and were therefore

duplicative of MA standards); Morrison v. Health Plan of Nev., Inc., 130 Nev. 517, 523 (Nev. 2014)



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(state-law negligence claim against MAO concerning selection and supervision of participating

providers was preempted by the Medicare Act).

        At minimum, the Medicare Act preempts a state law or cause of action when “the conduct

underlying the plaintiffs’ allegations and state law claims [is] governed by federal regulatory

standards.” For instance, in Hepstall v. Humana Health Plan, Inc., the court explained that it could

not hear claims that sought to retroactively second-guess Medicare coverage determinations.

2018 WL 6588555, at *6–7. In that case, a member’s husband sued Humana to recover “the value

of his premiums paid in exchange for insurance that was not as represented, for the costs of

healthcare which Defendant refused to pay, and for mental anguish or emotional suffering” as well

as punitive damages for his wife’s wrongful death. Id. at *4. The court explained that each of

those claims was preempted because they all were “based on or ar[o]se from Defendant’s refusal

or failure to pay for certain medical services,” an area substantially regulated by the Medicare Act,

CMS regulations, and coverage guidelines. Id. at *7. Like in Hepstall, Plaintiffs’ claims here

relate to, and conflict with, existing Medicare standards, so the Medicare Act’s preemption

provision requires this Court dismiss them.

       B.      The Medicare Act Preempts Plaintiffs’ Claims Because, “at Bottom” They
               Are About Coverage Determinations Addressed By Medicare’s Vast
               Regulatory Scheme.

       Plaintiffs’ causes of action are preempted by the Medicare Act because each is, at bottom,

about a coverage determination concerning Medicare Benefits: Each cause of action is based on

the allegation that Humana improperly reviewed Ms. Hagood’s and Ms. Barrows’ claims for

benefits, see, e.g., Compl., R. 1, PageID#: 20–21 (¶¶ 74, 76, 82), 24 (¶¶ 99–102), leading to a

denial of coverage for their post-acute care, see id. at 20–21 (¶¶ 77, 85) 23–26 (¶¶ 94, 100–02,

109–10, 114), 29–36 (¶¶ 136, 140, 147, 153, 158, 162, 169, 173, 176, 180, 184, 189, 192), 37–38

(¶¶ 201–02), 40–43 (¶¶ 215, 220, 225, 228-30, 233–35). As Hepstall explained, whether a benefit
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is covered by a MA plan is the subject of federal standards, which compel MAOs to provide

enrollees with “all services that are covered by Part A and Part B of Medicare”, and to comply with

“CMS’s national coverage determinations” and its “general coverage guidelines.” 2018 WL

6588555 at *7 (citing 42 C.F.R. §§ 422.101(a)–(b)); see also Compl., R. 1, PageID#: 8 (¶23).

       Thus, claims that Humana wrongly denied coverage for post-acute care are preempted by

the extensive Medicare rules, regulations, and guidance that govern each aspect of an MAO’s

authorization for post-acute care. See, e.g., 42 C.F.R. § 409.30 (basic pre-admission and admission

requirements); § 409.31 (level of care requirement); § 409.32 (criteria and need for skilled

services); § 409.33 (examples of what qualifies as skilled nursing services); and § 424.20 (plan of

treatment and certification requirements for post hospital SNF care). Plaintiff’s claims that

Humana improperly investigated whether coverage should have been required run headlong into

CMS regulations that explain how MAOs can use utilization management policies and procedures

to make coverage determinations. See 42 C.F.R. § 422.112(a)(6)(ii); § 422.137. Allegations that

Humana wrongly delegated its responsibility to make coverage decisions are similarly “governed

by standards set forth in regulations promulgated by CMS.” Hepstall, 2018 WL 6588555, at *7;

see 42 C.F.R. § 422.566(d) (requiring adverse coverage determinations to be reviewed by an

“appropriate health care professional”); Alston, 291 F. Supp. 3d at 1174–75 (finding plaintiff’s

negligence cause of action, which alleged that an insurer breached its “duty to conduct a reasonable

investigation based on all available information and affirm or deny coverage within a reasonable

time” was preempted because a state-law based decision turning on reasonableness would be

inconsistent with Medicare Part D standards). This Court cannot apply state causes of action to

determine whether Humana properly evaluated the Plaintiffs’ need for continued SNF care without

second-guessing Humana’s administration of federal Medicare standards.



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       For example, in Snyder v. Prompt Medical Transportation, Inc., 131 N.E.3d 640, 653

(Ind. Ct. App. 2019), the Indiana Court of Appeals held that a state-law wrongful death claim

against an MAO was preempted. There, as here, the plaintiff alleged that the MAO wrongfully

denied Medicare Benefits (an air ambulance transport to another hospital). The trial court

dismissed the MAO from the case, finding the claims preempted. Affirming that decision, the

Court of Appeals noted that federal regulations govern the authorization of air ambulance

transportation. Id. at 653. As the Court of Appeals further noted:

       [T]o resolve this argument, a court would have to apply a state law standard of care
       to a coverage determination governed by federal law. Indeed, if allowed to stand,
       the Estate’s complaint could theoretically allow [the MAO] to be found negligent
       even if it fully complied with all federal laws and regulations. Under these
       circumstances, we can only conclude that the Estate’s claims, which sound in state
       law that must be applied with respect to Medicare Part C, are preempted pursuant
       to Part C’s express preemption provision.

Id. The Plaintiffs here should not be allowed to forum-shop their way to a different outcome by

“creatively” cloaking their complaint over denial of Medicare Benefits as causes of action arising

under state statutes or common law. Uhm, 620 F.3d at 1143; Blue Cross & Blue Shield of Ala.,

156 F.3d at 1104. These claims should be dismissed.

                                        CONCLUSION

       For the foregoing reasons, the Court should dismiss Plaintiffs’ Complaint with prejudice.

Dated: March 20, 2024                        Respectfully Submitted,

                                             /s/ Michael P. Abate




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                                  CERTIFICATE OF SERVICE

       I hereby certify that, on March 20, 2024, a copy of the foregoing was electronically filed

with the Court of Clerk using the CM/ECF system, which will automatically send email

notification of such filing to all counsel of record.


                                               /s/ Michael P. Abate
                                               Counsel for Defendant




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